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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 JILL STOKKE, CHRIS PRUDHOME,                            Case No.: 2:20-cv-02046-APG-DJA
   MARCHANT FOR CONGRESS, and
 4 RODIMER FOR CONGRESS,                                          Order Setting Hearing

 5          Plaintiffs                                                [ECF Nos. 3, 4]

 6 v.

 7 SECRETARY OF STATE BARBARA
   CEGAVSKE, CLARK COUNTY
 8 REGISTRAR OF VOTERS JOSEPH P.
   GLORIA, and CLARK COUNTY
 9 ELECTION BOARD,

10          Defendants

11         I ORDER that the plaintiffs’ motion to expedite hearing and briefing (ECF No. 4) is

12 GRANTED. The plaintiffs’ motion for temporary restraining order and preliminary injunction

13 (ECF No. 3) is set for telephonic hearing today, November 6, 2020, at 2:00 p.m. PST. Details

14 on how to dial into the hearing will be provided by separate order.

15         I FURTHER ORDER that the defendants may file a response to the motion for

16 preliminary injunction by 12:00 p.m. PST today.

17         I FURTHER ORDER the plaintiffs to serve the complaint, the motion for preliminary

18 injunction, and this order on the defendants by email, fax, hand delivery, or other means to

19 provide notice in adequate time to allow the defendants to respond and to attend the hearing.

20 The plaintiffs shall file proof of such service by 12:00 p.m. today.

21         DATED this 6th day of November, 2020.

22
                                                         ANDREW P. GORDON
23                                                       UNITED STATES DISTRICT JUDGE
